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SCARTELLI OLSZEWSKI, P.C.

A Professional Corporation

By: Melissa A. Scartelli, Esquire
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IDENTIFICATION #52441

IDENTIFICATION #41286

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

BERT R. TERYSEN, and his wife
SARA A. TERYSEN

284 Callicoon Road

Damascus, Wayne County, PA 18415

PLAINTIFFS,
-V-

MCNEILUS TRUCK &
MANUFACTURING, INC.

524 East Highway Street

P.O. Box 70

Dodge Center, Minnesota 55927

OSHKOSH/MCNEILUS TRUCK AND
MANUFACTURING, INC.

524 County Road 34 East

Dodge Center, Minnesota 55927

OSHKOSH CORPORATION
1917 Four Wheel Drive
Oshkosh, Wisconsin 54902

OSHKOSH INC.

Waterfront Center 1050 Western
PO Box 0510

Muskegon, Michigan 49443

OSHKOSH SPECIALTY
VEHICLES, INC.

2307 Oregon Street
PO Box 2566

 

CIVIL ACTION - LAW

JURY TRIAL DEMANDED

 
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Oshkosh, Wisconsin 54903

OSHKOSH SPECIALTY
VEHICLES, LLC.

2307 Oregon Street

PO Box 2566

Oshkosh, Wisconsin 54903

 

DEFENDANTS.

 

COMPLAINT

AND NOW, come the Plaintiffs, Bert R. Terysen and his wife, Sara A. Terysen, by
and through their counsel, SCARTELLI OLSZEWSKI, P.C., and hereby complain against
Defendants, McNeilus Truck & Manufacturing, Inc., Oshkosh/McNeilus Truck and
Manufacturing, Inc., Oshkosh Corporation, Oshkosh, Inc., Oshkosh Specialty Vehicles,
Inc., and Oshkosh Specialty Vehicles, LLC. This is a civil action seeking monetary
damages against Defendants for committing acts or omissions of strict product liability,
negligence, breach of warranties, and recklessness against Plaintiffs.

PARTIES

1. Plaintiff, Bert R. Terysen, (hereinafter referred to as “Plaintiff Terysen”) is
an adult and competent individual residing at 284 Callicoon Road, Damascus, Wayne
County, Pennsylvania 18415.

2. Plaintiff, Sara A. Terysen, wife of Plaintiff Bert R. Terysen, is an adult and
competent individual residing at 284 Callicoon Road, Damascus, Wayne County,
Pennsylvania 18415.

3. At all times material hereto, Plaintiff Terysen was employed by Wayne
County Ready Mix located at 379 Grimms Road, Honesdale, Wayne County,
Pennsylvania 18415 as a concrete delivery truck driver.

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4. Defendant, McNeilus Truck & Manufacturing, Inc. (hereinafter referred to as
“McNeilus”), is a Corporation, incorporated in Minnesota, with its principal place of
business located at 524 East Highway Street P.O. Box 70, Dodge Center, Minnesota
55927, and a branch office located at P.O. Box 219, 941 Hemlock Road, Morgantown,
Pennsylvania 19543.

5. Defendant, Oshkosh/McNeilus Truck and Manufacturing, Inc. (hereinafter
referred to as “Oshkosh”), upon information and belief, is a Wisconsin Corporation with
its principal place of business located at 524 County Road 34 East, Dodge Center,
Minnesota 55927.

6. Defendant, Oshkosh Corporation (hereinafter referred to as “Oshkosh”),
formerly Oshkosh Truck, is a Corporation, incorporated in Wisconsin, with its principal
place of business located at 1917 Four Wheel Drive, Oshkosh, Wisconsin 54902.

7. Defendant, Oshkosh Inc. (hereinafter referred to as “Oshkosh’), is a
Corporation, incorporated in Michigan, with a principal place of business located at
Waterfront Center 1050 Western, P.O. Box 0510, Muskegon, Michigan 49443.

8. Defendant, Oshkosh Specialty Vehicles Inc. (hereinafter referred to as
“Oshkosh’), is a corporation, incorporated in Wisconsin, with a principal place of business
located at 2307 Oregon Street P.O. Box 2566, Oshkosh, Wisconsin 54903.

9. Defendant, Oshkosh Specialty Vehicles LLC (hereinafter referred to as
“Oshkosh”), upon information and belief, is a Limited Liability Corporation with a principal
place of business located at 2307 Oregon Street P.O. Box 2566, Oshkosh, Wisconsin

54903.
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10. | Oshkosh is a company that designs and builds specialty commercial trucks,
including front-discharge cement mixers, including the one that injured Plaintiff Terysen
as will be further described herein.

11. | Defendant McNeilus is a subsidiary of Defendant Oshkosh that designs and
builds specialty commercial trucks and components including front-discharge cement
mixers, including the one that injured Plaintiff Terysen as will be further described herein.

12. Defendant McNeilus and its parent company Defendant Oshkosh are
partners in designing, engineering, building, fabricating, selling, and supplying front
discharge cement mixers, including the one that injured Plaintiff Terysen as will be further

described herein.

JURISDICTION AND VENUE

13. Federal Jurisdiction is grounded in 28 U.S.C §1332, complete diversity of
the Parties and the matter in controversy, exclusive of interest and costs, exceeds
seventy-five thousand dollars ($75,000.00). The Court also has pendant jurisdiction as
provided under 28 U.S.C. §1367(a).

14. The Federal Court for the Middle District of Pennsylvania is the correct
forum for this action as both Plaintiffs reside in Wayne County, Pennsylvania and the

incident which forms the basis of this action occurred in Wayne County, Pennsylvania.

FACTS

15. | On March 1, 2019, Plaintiff Terysen was severely and permanently injured
in the course and scope of his employment while using a 2008 Oshkosh Front Discharge
Concrete Mixer, the VIN 10TFAAP276S090745 hereinafter “Cement Mixer,” which was

manufactured, designed, fabricated, sold, and distributed by the Defendants.
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16. On the aforesaid date, Plaintiff Terysen drove the Cement Mixer to a jobsite,
located on Dillmuth Road, Damascus Township, Wayne County, Pennsylvania, where he
delivered and discharged concrete.

17. | The manual for the Cement Mixer contains a provision for “Mixer Clean-Up”,
which is described as a “vital part” of the maintenance requirement for the cement mixer.
The manual recommends that the mixer and chassis be washed down thoroughly after
each load is discharged. It also states, “Special care should be taken to make sure all
residual concrete is removed from the mixer drum, charge hopper, and discharge chute
after each ners to ensure that a build-up of dried concrete does not accumulate.”

18. The manual is silent with respect to the method or manner of performing
mixer clean—up.

19. On the aforesaid date in question, and as recommended in the manual,
Plaintiff Terysen was performing a mixer clean-up of the front discharge drum for residue
concrete in a manner customary in the industry.

20. ‘Plaintiff Terysen used the catwalk above the cab of the Cement Mixer and
used the provided water hose on the catwalk for mixer clean-up of the residual concrete
from the discharge drum.

21. Plaintiff Terysen was holding the provided water hose with his right hand
and supported himself with his left hand while washing out the rotating discharge drum.

22. There was no accessible, dedicated grab bar or handle for Plaintiff Terysen
to hold on to while washing out the drum.

23. | Suddenly and without warning to Plaintiff Terysen, there was a loss of air

pressure to the cement mixer causing the elevated charge hopper to fall.
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24. The cement mixer was equipped with a barely audible alarm signaling a
loss of air pressure, which could only be heard from inside the cab and was impossible
to hear outside the cab while standing on the catwalk on top of the Cement Mixer.

25. Plaintiff Terysen could not hear the air pressure alarm from his location, was
unaware of the loss of air pressure and the falling charge hopper while performing the
necessary mixer clean-up.

26. ‘Plaintiff sustained a serious, permanent, disabling, and disfiguring crush
injury to his left forearm, wrist, and hand when the elevated charge hopper fell, trapping
his left forearm, wrist, and hand between the charge hopper and the charge hopper safety
support.

27. _ Plaintiff Terysen was unable to extricate his left upper extremity due to the
loss of air pressure and the weight of the charge hopper.

28. After yelling for help for several minutes, nearby workers heard Plaintiff
Terysen and tried to extricate him. Ultimately Plaintiff Terysen was trapped for 20-25
minutes.

29. Plaintiff Terysen suffered serious, permanent, disabling, and disfiguring
injuries to his left upper extremity as a direct and proximate result of the negligence and
strict liability of Defendants for the design defects of the Cement Mixer.

30. The Cement Mixer was designed, produced, marketed, sold, distributed,
and supplied in a defective condition because it failed to have a safe support handle/grab
bar that would provide support for the operator and protection from a foreseeable loss of

air pressure and a falling charge hopper.
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31. |The Cement Mixer was designed, produced, marketed, sold, distributed,
and supplied in a defective condition in that it failed to have an audible alarm that could
be heard on the catwalk to alert the operator to a loss of air pressure, so allow him to
protect himself from a falling charge hopper.

32. The Cement Mixer was designed, produced, marketed, sold, distributed,
and supplied in a defective condition in that it failed to have a true safety support to
prevent the charge hopper from falling and injuring an operator in the event of a
foreseeable loss in air pressure.

33. | The Cement Mixer was designed, produced, marketed, sold, distributed,
and supplied in a defective condition in that it failed to have adequate warnings on the
catwalk to warn the operator of the foreseeable danger of a loss of air pressure that would
cause the elevated charge hopper to fall.

34. |The Cement Mixer was designed, produced, marketed, sold, distributed,
and supplied in a defective condition in that it failed to have an automatic safety support
lock for an elevated charge hopper that would protect the operator while performing a
mixer clean-up.

35. | The Cement Mixer was designed, produced, marketed, sold, distributed,
and supplied in a defective condition in that it had an obscure, unclear, confusing warning
decal to “put the charge hopper safety support in place” when there was nothing for the
operator to in fact put in place.

36. |The Cement Mixer was defective and unreasonably dangerous in that it

failed to protect operators from the dangers associated with a foreseeable loss of air
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pressure while performing regular and customary duties on the catwalk, such as a mixer
clean-up.

37. |The Cement Mixer was defective and unreasonably dangerous in that it
failed to protect operators from the dangers associated with a foreseeable pinch point
between the charge hopper and the charge hopper safety support.

38. The dangers associated with unguarded pinch points were known in
Defendants’ industry for decades.

39. | Defendants were negligent, careless, and reckless in failing to incorporate
existing technology known and available in the industry such as audible alarms, grab
handles, handrails, and safety supports.

40. Defendants were specifically aware of the dangers of a falling charge
hopper due to loss of air pressure because both the manual for the Cement Mixer and
the Cement Mixer itself contain a confusing, obscure, inapplicable “safety decal” (Serial

No.1840890) which reads as follows:

WARNING
Always put the CHARGE HOPPER SAFETY SUPPORT in place:
(1) Before you work in this area, and
(2) If the charge hopper is in UP position.
Charge hopper falls suddenly if air pressure is lost.

You can be killed or seriously injured.
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41. Despite having the above “safety decal,” Defendants knowingly failed to
provide something to “put in place” to protect an operator when the charge hopper is in
the UP position.

42. Despite having the above “safety decal,” Defendants knowingly failed to
provide a handrail/grab bar to protect an operator from the dangers associated with a
falling charge hopper.

43. Despite having the above “safety decal,” Defendants knowingly failed to
eliminate the known pinch point between the charge hopper and the safety support.

44. Despite having the above “safety decal,” Defendants knowingly designed,
fabricated, sold, supplied a charge hopper safety support that provided support for the
charge hopper only when it is in the DOWN position.

45. Despite having the above “safety decal,” Defendants knowingly failed to
design, fabricate, sell, or supply a charge hopper safety support for when the charge
hopper is in the UP position.

46. Defendants specifically KNEW of the exact danger posed to operators, such
as Plaintiff Terysen, but failed to eliminate the danger, guard the danger, and/or
adequately warn of the danger, and as a direct and proximate result of these failures
Plaintiff Terysen was permanently harmed as set forth more specifically below.

47. Despite having specific knowledge of the exact danger posed to Plaintiff
Terysen herein, Defendants designed, fabricated, sold, shipped, supplied a defective
charge hopper safety support that served as an unguarded pinch point which was
unreasonably dangerous and highly likely to harm operators during a necessary mixer

clean-up of the discharge drum.
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48. Defendants knowingly designed into the product a hazardous and
potentially lethal pinch point thereby creating the dangerous defect that permanently
injured Plaintiff Terysen.

49. The Cement Mixer, including the charge hopper and safety support as
designed, fabricated, sold, shipped, and supplied was defective and unreasonably
dangerous and arrived at Plaintiff Terysen’s place of employment in the same condition
as was intended by Defendants.

50. There were no alterations to the Cement Mixer with respect to the areas of
defect from the time it was sold, supplied, and shipped to Wayne County Ready Mix up
to the incident described herein.

51. The use of the Cement Mixer by Plaintiff Terysen as it relates to this incident
was as intended by Defendants.

52. In the alternative, if it is determined that Plaintiff Terysen misused the
Cement Mixer, said misuse or unintended use was foreseeable to Defendants such that
Defendants had a duty to protect operators including Plaintiff Terysen.

53. The risk of the defective design created by Defendants outweighed the
benefits of the design.

54. At all times relevant hereto, Defendants individually and/or through its
officers, directors, employees, successors, predecessors, servants, franchisees,
franchisors, distributors, sales forces, agents, ostensible agents, and/or agents of any
and all other types, were in the business of designing, manufacturing, testing, distributing,
selling, supplying, and marketing commercial trucks such as the Cement Mixer, and at all

times material hereto said Defendants regularly conducted business in Pennsylvania.

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55. Prior to and up to the date of the incident on March 1, 2019, Defendants
owed a duty to design, develop, fabricate, supply, and sell a safe Cement Mixer free of
defects.

56. Defendants could foresee, based upon the defective design of the Cement
Mixer, that there was a high likelihood of harm to operators and employees from a falling
charge hopper due to loss of air pressure while performing a customary and necessary
mixer clean-up of the discharge drum, which is required after each delivery and discharge
of cement.

57. Defendants failed to perform a risk utility analysis of the Cement Mixer of
the foreseeable uses as well as misuses to eliminate any element rendering the Cement
Mixer unsafe.

58. In the alternative Defendants performed a risk utility analysis but failed to
correct the defects identified with the foreseeable use of the product.

59. Defendants designed, fabricated, sold, supplied, and shipped a Cement
Mixer that lacked elements necessary to make it safe for its intended and foreseeable
use.

60. Defendants had a program called the “McNeilus Continuous Improvement
Process” whereby they would issue Technical Service Information Bulletins to its
customers as part of “constant focus on continuous improvement.”

61. Defendants had a duty to warn customers of safety defects, such as the
defects set forth herein, and take measures to correct the defect in order to prevent

foreseeable harm to operators such as Plaintiff Terysen.

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62. Atno time following purchase/delivery of the Cement Mixer did Defendants
inform or warn of the defects or take any action whatsoever to correct the defects set forth
herein.

63. Defendants were negligent and reckless in the design, manufacture,
assembly, distribution, sale, and introduction into the stream of commerce of the Cement
Mixer.

64. The aforementioned incident was factually and directly caused by defects
in the Cement Mixer that were known to Defendants, including defective design and
defective warnings.

65. Technologically and economically feasible alternative designs and warnings
were readily available but were deliberately ignored by Defendants; implementation of the
economically feasible alternative designs and warnings would not have altered the use
or utility of the product and would not have materially altered the price of the product.

66. Defendants deliberately chose to ignore technically and economically
feasible alternative designs and warnings of which they were aware that would have
prevented operators from being exposed to foreseeable serious injury such as occurred
to the Plaintiff Terysen.

67. As a direct and proximate result of the negligence, carelessness, and
recklessness, strict product liability and breach of implied warranties of Defendants,
Plaintiff Terysen sustained the following serious, permanent, disabling, and disfiguring
injuries including but not limited to the following:

a. Crush injury to left forearm;

b. Crush injury to left wrist;

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c. Crush injury to left hand and fingers;
d. Left radial nerve palsy;
e. Traumatic injuries to left median, radial, and ulnar nerves;
f. Left upper extremity paresthesia and wrist drop;
g. Left upper extremity median, radial, and ulnar nerve paresthesia;
h. Neuropraxia injury to left upper extremity;
i. Numbness and weakness to left upper extremity forearm, wrist, hand
and fingers;
j. Finger contractures;
k. Tendon adhesions in the fingers of his left hand;
|. Decreased sensation to left upper arm, forearm, wrist, hand and fingers;
m. Complex Regional Pain Syndrome;
n. Left shoulder injury;
o. Left shoulder impingement;
p. Left shoulder weakness;
q. Limited range of motion left shoulder;
r. Chronic pain;
s. Left wrist drop;
t. Left hand contractures;
u. Left hand and wrist stiffness;
68. As a result of Defendants’ negligence, carelessness, and recklessness,
Plaintiff Terysen underwent nonsurgical treatment of his injuries in the form of injections,

physical therapy, analgesics, and splinting.

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69. Asa result of Defendants’ negligence, carelessness, and recklessness,
Plaintiff Terysen underwent surgical treatment including:
a. Left carpal tunnel release;
b. Left cubital tunnel release with subcutaneous transposition of the ulnar
nerve;
c. Tenosynovectomy flexor tendons of the distal forearm and carpal tunnel;
d. Left index, long, ring and small PIP capsulectomy;
e. Left index, long, ring and small extensor tenolysis;
f. Left index, long, ring and small flexor profundus and superficialis tenolysis.

70. Plaintiff Terysen will require ongoing non-surgical and surgical treatment for
an indefinite time into the future to his great detriment and loss for which a claim is made
herein.

71. Plaintiff Terysen is left with chronic pain, permanent stiffness, limitation,
weakness, numbness, tingling, swelling, warmth, popping, clicking, and radiating
sensations to his left upper extremity, including radiating injuries to thumb, index, middle,
fourth, and fifth fingers for which a claim is made herein.

72. _ Plaintiff Terysen is left with permanent numbness in his left upper extremity.

73. Plaintiff Terysen is left with a permanent left wrist drop.

74. Plaintiff Terysen in left with permanent limitation in his left upper extremity
including his shoulder, forearm, wrist, hand, and fingers.

75. As a direct and proximate result of Defendants negligence, carelessness,

and recklessness, and the unsafe condition of the aforesaid Cement Mixer, Plaintiff

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sustained serious, permanent, disabling, and disfiguring injuries for which a claim is made
herein.

76. Asa direct and proximate result of Defendants’ negligence, carelessness,
and recklessness, Plaintiff has undergone great physical pain and mental anguish that he
will continue to endure the same for an indefinite time in the future to his great detriment
and loss for which a claim is made herein.

77. As a direct and proximate result of the Defendants’ negligence,
carelessness, and recklessness Plaintiff Terysen has been unable to attend to his usual
daily duties and occupations and will be unable to attend to the same for an indefinite
time in the future to his great detriment and loss for which a claim is made herein.

78. As a direct and proximate result of the Defendants’ negligence,
carelessness, and recklessness Plaintiff Terysen has suffered a severe loss of his
earnings and an impairment of his earning capacity and power for which a claim is made
herein.

79. As a result of the aforesaid injuries caused by Defendants’ negligence,
carelessness, and recklessness Plaintiff Terysen has been obliged to expend great sums
of money for medicine, medical care, and attention in and about an effort to affect a cure
for his aforesaid injuries and he will be compelled to expend such sums for the same
purpose for an indefinite time into the future to his great detriment and loss for which a
claim is made herein.

80. As a result of the aforesaid injuries caused by Defendants’ negligence,

carelessness, and recklessness Plaintiff Terysen has been deprived of his usual and

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customary enjoyments of life and will continue to experience said loss of enjoyment of life
into the future for which a claim is made herein.

81. The incident in question occurred as a result of the negligence,
carelessness, and recklessness of Defendants and in no manner or fashion as a result of
any action or inaction on the part of Plaintiffs.

WHEREFORE, Plaintiffs, Bert R. Terysen and his wife, Sara A. Terysen, demand
judgment against Defendants McNeilus Truck & Manufacturing, Inc., Oshkosh/McNeilus
Truck and Manufacturing, Inc., Oshkosh Corporation, Oshkosh Inc., Oshkosh Specialty
Vehicles, Inc., and Oshkosh Specialty Vehicles, LLC. for compensatory and punitive
damages in an amount in excess of seventy-five thousand dollars ($75,000.00) together

with the costs of this action and any other relief deemed just and equitable.

COUNT I~ NEGLIGENCE
PLAINTIFF BERT R. TERYSEN v. ALL DEFENDANTS

82. Plaintiff Terysen incorporates herein by reference paragraphs 1-81 and all
the allegations of this Complaint as though fully set forth at length herein.
83. The negligence, carelessness, and recklessness of Defendants consisted
of the following:
a. Failing to design, manufacture, and sell the aforesaid Cement Mixer and
its component parts with due care;
b. Failing to equip the aforesaid Cement Mixer with adequate safety
devices for use and safety;
c. Failing to test and inspect the aforementioned Cement Mixer to

determine whether it could be cleaned without injuring operators;

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d. Failing to instruct as to the proper measures to clean the Cement Mixer

without causing injury to those who use its product;

e. Failing to warn or adequately warn of the dangers while cleaning the

Cement Mixer and operation of the charge hopper;

f. Failing to equip the aforementioned Cement Mixer with an alarm system

that would alert the operator while standing on the platform cleaning the

Cement Mixer of a loss in air pressure that would cause the charge

hopper to lower onto the operator causing serious injuries and damages;

g. In equipping the aforesaid Cement Mixer with a defective alarm system

that is only audible from inside the cab of the unit and inaudible to an

operator on the catwalk cleaning the cement mixer;

h. Failing to install handles, grab bars, or other safety devices on the

catwalk so that the operator can have a safe place to hold on in order to

perform a mixer clean-up of the Cement Mixer free and clear of the

charge hopper;

i. Failing to have a manual support or charge hopper prop to prevent a

raised charge hopper from lowering onto the operator when there is a

loss in air pressure;

j. Failing to have a charge hopper support system to maintain the charge

hopper in the up position where there is a loss in air pressure during

performance of a mixer clean-up of the Cement Mixer;

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k. Failing to have adequate warnings in place on the equipment to alert the

operator that a sudden loss of air pressure can lower the charge hopper

without warning and cause injuries to the operator;

|. Failing to have a position lock in place to maintain the charge hopper in

the elevated position during a routine mixer clean-up in the event of loss

in air pressure for the charge hopper;

m. Failing to have a lockout-tagout system for the operator to initiate during

a mixer clean-up of the Cement Mixer so as not to become injured by

the charge hopper in the case of a loss in air pressure to the unit;

n. Failing to design and manufacture the aforementioned Cement Mixer to

minimize the possibility of a sudden drop of the charge hopper due to

loss of air pressure;

0. Failing to incorporate a safety bar to maintain the charge hopper in the

up position for operators to perform a mixer clean-up of the Cement

Mixer.

p. Failing to design, manufacture, and sell the Cement Mixer with

applicable design and safety features that allow an operator to hold on

with safety while performing a mixer clean-up and maintain a safe

distance from the charge hopper;

q. Designing, manufacturing, selling, and/or supplying a Cement Mixer,

which lacked all elements necessary to ensure its safe use;

r. Designing, manufacturing, selling, or supplying a Cement Mixer with a

defective and dangerous design with insufficient protection to prevent

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the charge hopper from descending onto the operator while performing
a routine mixer clean-up of the Cement Mixer;

Designing, manufacturing, selling, and/or supplying the Cement Mixer
without a safety device in place to prevent the charge hopper from
descending onto an operator while performing a mixer clean-up of the
Cement Mixer;

Designing, manufacturing, selling, and/or supplying a Cement Mixer
without any safety devices or safety bars to maintain the charge hopper
in the up position during a loss of air pressure to the Cement Mixer;

. Designing, manufacturing, selling, and/or supplying a Cement Mixer with
other defects making it unsafe for its intended use and foreseeable
misuse;

Designing, manufacturing, selling, and supplying a Cement Mixer in a
defective and unreasonably dangerous condition lacking all elements
necessary to ensure its safe use;

. In recognizing that the truck may experience a sudden loss of air
pressure requiring a safety support for the charge hopper yet failing to
provide the safety support to protect operators performing a mixer clean-
up of the Cement Mixer;

In failing to incorporate a clear warning decal on the Cement Mixer that
would be seen and understood by operators with respect to the dangers

of maintaining the charge hopper in the up position during a mixer clean-

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up when a sudden loss of air pressure can cause the charge hopper to
descend onto the operator;

y. In supplying the Cement Mixer with a safety bar that supports the charge
hopper in the lower position and not in the upper position which is
unreasonably dangerous and defective;

z. In failing to equip the Cement Mixer with a safety bar lock that
automatically locks the charge hopper in the up position during
performance of a mixer clean-up of the Cement Mixer;

aa. In selling, supplying, distributing, a cement mixer which is defective and
unreasonably dangerous;

bb. In failing to provide a safety support for use by operators to hold on to
when performing a mixer clean-up of the Cement Mixer;

cc. In failing to perform a risk utility analysis in order to identify dangers and
defects associated with the use of the product in order to eliminate
defects and incorporate all elements necessary to make the product
safe;

dd.In performing a risk utility analysis and failing to cure the dangers and
defects identified with the foreseeable use of the product in order to
make the product safe;

ee. In failing to issue a Technical Service Information Bulletin with respect
to the defects set forth herein and take action to eliminate the defects;

ff. In failing to alert customers such as Plaintiff Terysen of the defects as

part of the “McNeilus Continuous Improvement Process.”

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gg.In failing to provide any instruction whatsoever of recommended
methods of mixer clean-up so as to eliminate or minimize the risk of
harm to employees and operators;

hh.In failing to provide an emergency release of the charge hopper when it
falls due to lack of air pressure; and

ii. In failing to provide an emergency alarm/notification on the catwalk for
an employee or operator to activate to signal for emergency assistance.

84. The Cement Mixer was designed, manufactured, distributed, supplied, and
sold by Defendants in a defective and dangerous condition lacking all elements necessary
to ensure its safe use.

WHEREFORE, Plaintiff Bert R. Terysen demands judgment against Defendants
McNeilus Truck & Manufacturing, Inc., Oshkosh/McNeilus Truck and Manufacturing, Inc.,
Oshkosh Corporation, Oshkosh Inc., Oshkosh Specialty Vehicles, Inc., and Oshkosh
Specialty Vehicles, LLC. for compensatory and punitive damages in an amount in excess
of seventy-five thousand dollars ($75,000.00) together with the costs of this action and

any other relief deemed just and equitable.

COUNT IlI— STRICT LIABILITY
PLAINITIFF BERT R. TERYSEN v. ALL DEFENDANTS

85. Plaintiff Terysen incorporates by reference paragraphs 1-85 of this
Complaint as if fully set forth herein at length.
86. Defendants designed, engineered, manufactured, fabricated, assembled,

distributed, sold, and/or shipped the subject product.

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87.

The subject product was defective and unsafe when it left the control of

Defendants because it was unsafe for its reasonable and foreseeable intended uses.

88.

The subject product was defective, unsafe, and unreasonably dangerous

as designed, engineered, manufactured, assembled, sold, and/or shipped by Defendants

as follows:

=

a>

It lacked safe grab bars/handrails for operators to use during a mixer
clean-up;

It lacked an audible alarm to alert the operator on the catwalk of loss of
air pressure;

It lacked a safety support to maintain the charge hopper in the UP
position in the event of a loss of air pressure;

It lacked an automatic safety bar to hold the charge hopper in the UP

position;

. It contained a dangerous unguarded pinch point between the charge

hopper and the charge hopper safety support;
It contained a charge hopper safety support for the DOWN position of

the charge hopper and not for the UP position;

. It lacked an adequate warning for loss of air pressure when the charge

hopper is in the UP position; and

. It contained a confusing, inappropriate, obscure warning with respect the

charge hopper safety support;

i. It lacked an emergency release for the charge hopper; and

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j. It lacked an emergency alarm/notification on the catwalk for an employee
or operator to activate to signal for emergency assistance.

89. The subject product was not equipped with every safety device necessary
to make the subject product safe for its reasonably foreseeable and intended uses when
sold and placed into the stream of commerce by Defendants.

90. The aforementioned subject product was unreasonably dangerous and
defective pursuant to the doctrine of strict liability as established by Pennsylvania Law §
402A of the Restatement (2"°) of Torts.

91. Defendants are strictly liable for placing into the stream of commerce a
defective and unsafe product pursuant to the laws of Strict Liability in the Commonwealth
of Pennsylvania.

92. Defendants are strictly liable for placing into the stream of commerce a
defective and unsafe product pursuant to the doctrines of strict liability as established by
the Pennsylvania Supreme Court’s holding in Tincher v. Omega Flex, Inc., 104 A. 3d.
328 (Pa. 2014).

93. The subject product was in a defective condition under the Consumer
Expectation Standard and in accordance with Pennsylvania substantive law of Product
Defect, specifically since the danger was unknowable and unacceptable to Plaintiff
Terysen and the ordinary consumer. The defect was a direct and proximate cause of the
injuries and damages to Plaintiff Terysen as set forth in this Complaint.

94. The subject product did not perform as safely as an ordinary consumer

would have expected it to perform when used in an intended way.

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95. The subject product was in a defective condition under the Risk Utility Test
Standard and in accordance with Pennsylvania substantive law of Product Defect
specifically since the defect was a direct and proximate cause of the injuries and damages
to Plaintiff Terysen as set forth in this Complaint.

96. The subject product was defective, unsafe, and unreasonably dangerous
because the probability and seriousness of harm caused by the design of the subject
product without adequate features such as an appropriate alarm, an appropriate hand
support/grab bar, an appropriate safety device to prevent lowering of the charge hopper
in response to a loss of air pressure, an appropriate safety support for the UP position of
the charge hopper, and appropriate warnings outweighed the burden or cost of making
the product safe.

97. Designing, fabricating, installing, and providing adequate warnings and
other safeguards/devices mentioned above outweighed the burden or cost that would be
incurred by Defendants in taking the necessary design remediation precautions prior to
selling, distributing, and supplying said product.

98. The subject product was defective, unsafe, and unreasonably dangerous
because it failed to comply with the Consumer Expectation and Risk Utility Tests as set

forth by the Pennsylvania Supreme Court holding in Tincher v. Omega Flex, Inc., 104

 

A. 3d. 328 (Pa. 2014).

99. Asadirect and proximate result of Defendants and the unsafe condition of
the aforesaid subject product, Plaintiff Terysen sustained serious, permanent, disabling,
and disfiguring injuries including the crush injury and sequalae to the left upper extremity,

including left shoulder, forearm, wrist, hand, and fingers.

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WHEREFORE, Plaintiff Bert R. Terysen demands judgment against Defendants
McNeilus Truck & Manufacturing, Inc., Oshkosh/McNeilus Truck and Manufacturing, Inc.,
Oshkosh Corporation, Oshkosh Inc., Oshkosh Specialty Vehicles, Inc., and Oshkosh
Specialty Vehicles, LLC. for compensatory and punitive damages in an amount in excess
of $75,000.00 together with the costs of this action and any other relief deemed just and

equitable.

COUNT III- BREACH OF EXPRESS AND IMPLIED WARRANTIES
PLAINTIFF BERT R. TERYSEN v. ALL DEFENDANTS

100. Plaintiff incorporates by reference paragraphs 1-99 of this Complaint as if
fully set forth herein.

101. Ata time prior to March 1, 2019, Defendants expressly represented or in
some other manner expressly warranted the subject product and its component parts are
reasonably fit for the purposes intended and were of merchantable quality.

102. Ata time prior to March 1, 2019, Defendants represented or warranted by
implication the subject product and its component parts were reasonably fit for the
purposes intended and were of merchantable quality.

103. The representations and warranties set forth in the preceding two
paragraphs formed part of the bargain for selling the aforementioned subject product and
were relied upon by Plaintiff Terysen when the product was used for its intended
purposes.

104. Based upon information and belief, the express and implied warranties of
Defendants were in substance that the subject product was safe for its reasonably

foreseeable uses and foreseeable misuses.

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105.

In truth and in fact the above representations were false.

106. The above false warranties and misrepresentations caused serious,

permanent, disabling, and disfiguring harm to Plaintiff Terysen as set forth more fully in

this Complaint.

107. The Cement Mixer was unfit, unsafe, not merchantable, and not fit for its

particular purpose, for reasons that include, but are not limited to:

108.

a.

Being defective and unreasonably dangerous as described more fully

herein;

. Lacking the necessary elements to make it safe for use and/or

containing elements that made it unsafe for use as described more fully
herein;

Designing, manufacturing, distributing, supplying, and/or selling a
defective and unreasonably dangerous product as more fully described

herein;

. Failing to incorporate technically and economically feasible alternative

designs and/or safety features to minimize and/or eliminate the risk of
injury as more fully described herein;

Failing to warn of the foreseeable dangers more fully described herein:
and

Failing to design out the defects, guard against the defects, and warn of

the defects as more fully described herein.

In using the Cement Mixer Plaintiff Terysen relied upon the skill, judgment,

and express and implied warranties of merchantability and fitness of Defendants.

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109. As a result of the breach of express and/or implied warranties by
Defendants, Plaintiff Terysen suffered injuries and damages as set forth more fully above
and incorporated herein by reference.

110. Defendants had notice of the defects prior to the occurrence herein and took
no measures to warn or cure the defects prior to the occurrence.

WHEREFORE, Plaintiff Bert R. Terysen demands judgment against Defendants
McNeilus Truck & Manufacturing, Inc., Oshkosh/McNeilus Truck and Manufacturing, Inc.,
Oshkosh Corporation, Oshkosh Inc., Oshkosh Specialty Vehicles, Inc., and Oshkosh
Specialty Vehicles, LLC. for compensatory and punitive damages in an amount in excess
of seventy-five thousand dollars ($75,000.00) together with the costs of this action and

any other relief deemed just and equitable.

COUNT IV- LOSS OF CONSORTIUM
SARA A. TERYSEN v. ALL DEFENDANTS

111. Plaintiff incorporates herein by reference paragraphs 1-110 of this
Complaint as if fully set forth herein.

112. As a result of the aforesaid injuries sustained by her husband, Bert R.
Terysen, Plaintiff, Sara A. Terysen, lost and continues to lose the care, comfort, society,
services, companionship, and earnings of her husband and will continue to lose such
care, comforts, society, services, companionship, and earnings of her husband for an
indefinite period of time in the future and a claim for consortium is hereby made.

WHEREFORE, Plaintiff Sara A. Terysen demands judgment against Defendants
McNeilus Truck & Manufacturing, Inc., Oshkosh/McNeilus Truck and Manufacturing, Inc.,

Oshkosh Corporation, Oshkosh Inc., Oshkosh Specialty Vehicles, Inc., and Oshkosh

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Specialty Vehicles, LLC. for compensatory and punitive damages in an amount in excess

of seventy-five thousand dollars ($75,000.00) together with the costs of this action and

any other relief deemed just and equitable.

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Respectfully submitted,

SCARTELLI OLSZEWSKI, P.C.

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Attorneys for Plaintiffs
